                     Case 5:12-cv-00630-LHK Document 594-1 Filed 06/11/13 Page 1 of 3


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          12                                   UNITED STATES DISTRICT COURT

          13                    NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION

          14
                 APPLE INC., a California corporation,            CASE NO. 12-CV-00630-LHK
          15
                               Plaintiff,                         DECLARATION OF BRIAN M.
          16                                                      BUROKER IN SUPPORT OF APPLE
                        vs.                                       INC.’S OPPOSITION TO SAMSUNG'S
          17                                                      MOTION FOR LEAVE TO AMEND ITS
                 SAMSUNG ELECTRONICS CO., LTD., a                 INVALIDITY CONTENTIONS
          18     Korean corporation; SAMSUNG
                 ELECTRONICS AMERICA, INC., a New
          19     York corporation; and SAMSUNG
                 TELECOMMUNICATIONS AMERICA, LLC,
          20     a Delaware limited liability company,

          21                   Defendants.

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                                                                                           Case No. 12-CV-00630-LHK
Gibson, Dunn &
Crutcher LLP                                                                     DECLARATION OF BRIAN M. BUROKER
                      Case 5:12-cv-00630-LHK Document 594-1 Filed 06/11/13 Page 2 of 3


            1           I, Brian M. Buroker, declare as follows:
            2           1.      I am a partner at the law firm of Gibson, Dunn & Crutcher (“Gibson Dunn”), counsel
            3    of record in this action for Plaintiff and Counterclaim-Defendant Apple Inc. (“Apple”). I am licensed
            4    to practice law in the District of Columbia and the Commonwealth of Virginia. I submit this
            5    declaration in support of Apple Inc.’s Opposition to Samsung Electronics Co., Ltd., Samsung
            6    Electronics America, Inc., and Samsung Telecommunications America, LLC’s (collectively,
            7    “Samsung”) Motion For Leave To Amend Its Invalidity Contentions. I have personal knowledge of
            8    the matters set forth herein, except where stated otherwise, and if called to testify, I could and would
            9    competently testify thereto.
          10            2.      On June 15, 2012, Apple served its Disclosure of Asserted Claims and Infringement
          11     Contentions. On August 10, 2012, Samsung served its Invalidity Contentions. Attached hereto as
          12     Exhibit 1 is a true and correct copy of relevant excerpts from Samsung’s Patent Local Rules 3-3 and
          13     3-4 Disclosures, dated August 10, 2012.
          14            3.      On September 25, 2012, Samsung served its First Set of Interrogatories to Apple. In
          15     Interrogatory No. 2, Samsung requested that Apple state the dates of conception for each of the
          16     patents asserted in this case, including the ‘502, ‘414, ‘760, and ‘172 patents. On November 8, 2012,
          17     Apple served its Objections and Responses to Samsung’s First Set of Interrogatories.
          18            4.      In March 2013, the parties discussed supplementing their respective interrogatory
          19     responses with information obtained during discovery and further investigation. On March 12 and
          20     March 18, Apple and Samsung engaged in telephonic meet and confer discussions about the proposed
          21     schedule for supplementing the parties’ respective interrogatory responses, including Apple’s
          22     response to Samsung’s Interrogatory No. 2 and Samsung’s response to Apple’s Interrogatory No. 12,
          23     both of which relate to dates of conception for the patents in suit. Attached hereto as Exhibit 2 is a
          24     true and correct copy of Letter from Michael L. Fazio to Michael A. Valek dated March 20, 2013,
          25     memorializing the parties’ agreement.
          26            5.      In accordance with the parties’ agreement, on April 10, 2013, Apple served Apple’s
          27     Second Supplemental Objections and Responses to Samsung’s First Set of Interrogatories. On the
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                                                           -1-                                  Case No. 12-CV-00630-LHK
Gibson, Dunn &
                                                                                      DECLARATION OF BRIAN M. BUROKER
Crutcher LLP
                      Case 5:12-cv-00630-LHK Document 594-1 Filed 06/11/13 Page 3 of 3


            1    same day, Samsung served Samsung’s Further Supplemental Responses to Apple’s Second and Third
            2    Sets of Interrogatories.
            3            6.      On April 25, 2013, Samsung served its Second Amended Invalidity Contentions
            4    pursuant to a stipulation between the parties that allowed for this amendment. Attached hereto as
            5    Exhibit 3 is a true and correct copy of relevant excerpts from Samsung’s Second Amended Patent
            6    Local Rules 3-3 and 3-4 Disclosures, dated April 25, 2012.
            7            I declare under penalty of perjury under the laws of the United States of America that the
            8    foregoing is true and correct.
            9

          10                                                    /s/ Brian Buroker
                                                                Brian Buroker
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                                                           ATTESTATION
          15
                         I, H. Mark Lyon, am the ECF User whose ID and password are being used to file this
          16
                 Declaration. In compliance with General Order 45, X.B., I hereby attest that Brian M. Buroker has
          17
                 concurred in this filing.
          18

          19
                 Dated: June 11, 2013                               By:   /s/ H. Mark Lyon
          20
                                                                          H. Mark Lyon
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                                                          -2-                                  Case No. 12-CV-00630-LHK
Gibson, Dunn &
                                                                                     DECLARATION OF BRIAN M. BUROKER
Crutcher LLP
